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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

M.T., a minor by and through his grandmother §
and next friend, EDWINA WOODLEY, et al., §
                                             §
              Plaintiffs,                    §
                                             §
vs.                                          §           C.A. NO.: 2:21-cv-00364
                                             §
TATUM UNIFIED SCHOOL DISTRICT,               §
et al.,                                      §
                                             §
              Defendants.                    §

             TATUM INDEPENDENT SCHOOL DISTRICT’S
       UNOPPOSED RENEWED MOTION FOR CONTINUANCE OF THE
                 NOVEMBER 4, 2024, TRIAL SETTING

       Tatum Independent School District (the District) files this Unopposed Renewed

Motion for Continuance of the November 4, 2024, Trial Setting as follows:

       1.     Following Plaintiffs’ unopposed motion to continue the April 15, 2024, trial

setting, the Court continued the trial in this matter to Monday, November 4, 2024. See Dkts.

135-136.

       2.     On April 1, 2024, the District filed an unopposed motion to continue the

November 4, 2024, trial setting, stating that the District intended to call a Voter-Approval

Tax Rate Election (VATRE) on the November 5, 2024, uniform election ballot, which

would require multiple key witnesses to be at the District during the trial. See Dkt. 139.

       3.     On April 9, 2024, the Court entered an Order denying, without prejudice, the

District’s motion, stating, in pertinent part, that the “issue [was] not yet ripe for

adjudication” as the VATRE could not be called until August of 2024. See Dkt. 140.


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       4.     On August 12, 2024, at a lawfully called and noticed meeting of the District’s

Board of Trustees, the Board voted to call a VATRE to be placed as a measure on the

November 5, 2024, uniform election ballot. See Affidavit of Dr. Richardson, attached as

Exhibit 1.

       5.     As such, the upper-level administrators, including Superintendent J.P.

Richardson and Assistant Superintendent Drenon Fite, will need to be at the District on

November 4 and 5, 2024, and in the days prior to trial, to attend to any election related

matters. Id. Superintendent Richardson and Assistant Superintendent Fite are named trial

witnesses. See id.; see also Dkt. 93 at Exhs. A-B.

       6.     Accordingly, the District respectfully requests the Court continue the trial

setting to a later setting. The District further requests that the Court not set trial during its

Winter Break from December 20, 2024, through January 3, 2025, as staff and

administrators will be unavailable during that time.

       7.     The District conferred with counsel for Plaintiffs. Plaintiffs are unopposed to

the continuance of the November trial setting to a later date, but request the trial not be set

on the following dates that Plaintiffs’ counsel is unavailable: December 2-13, 2024;

January 23-29, 2025; and February 18-28, 2025.

       8.     This request is not made for purposes of delay but so that justice will be done.




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                                         Respectfully submitted,

                                         ROGERS, MORRIS, & GROVER, L.L.P.


                                         _______________________________
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                                         ATTORNEYS FOR TATUM ISD


                         CERTIFICATE OF CONFERENCE

       I hereby certify that I conferred with Plaintiffs’ counsel, on August 13, 2024, via
email regarding the relief requested herein. Plaintiffs are unopposed.



                                                _________________________________
                                                Attorney for Tatum ISD


                            CERTIFICATE OF SERVICE

       I hereby certify that on August 14, 2024, I electronically filed the foregoing
document with the Clerk of Court using the CM/ECF system which will send electronic
notification of such filing to all counsel of record.


                                                _________________________________
                                                Attorney for Tatum ISD



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